         Executive Grant of Clemency
TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

        AFTER CONSIDERING THE APPLICATIONS for executive clemency of the
following named persons, I hereby commute the total sentence of imprisonment each of the
following named persons is now serving to expire on April 16, 2016, leaving intact and in effect
for each named person the term of supervised release imposed by the court with all its conditions
and all other components of each respective sentence:




       Donald Allen                                 Reg. No. 04231-017
       Sandra Avery                                 Reg. No. 48139-018
       George Andre Axam                            Reg. No. 53189-019
       Ray Bennett                                  Reg. No. 12516-018
       Wendell Edward Betancourt                    Reg. No. 04126-087
       Anthony Bosley                               Reg. No. 11280-085
       Ramona Brant                                 Reg. No. 11205-058
       Ivory Charles Brinson                        Reg. No. 74995-004
       Carolyn Yvonne Butler                        Reg. No. 57740-080
       Arnold Charles Cabarris                      Reg. No. 35103-083
       Jimmy Lee Carter                             Reg. No. 39974-004
       Herbert Lee Christopher, Jr.                 Reg. No. 07494-021
       Jawariel Coffie,                             Reg. No. 15160-018
         aka Ginard Coffie
       Michael Reese Coffman                        Reg. No. 06072-017
       Oscar Cole, Jr.                              Reg. No. 25382-001
       Alex Contreras                               Reg. No. 14378-006
       Lelus Crawford                               Reg. No. 32809-044
       Joe Nathan Darby                             Reg. No. 12698-171
       Alphonso Davis                               Reg. No. 11978-058
       William Ervin Dekle                          Reg. No. 04327-018
       Dianne Demar,                                Reg. No. 41010-019
         aka Sharon Diane Harman
         Demar
       Ernest R. Eads                               Reg. No. 06112-062
       Reginald Gerard Ennis                        Reg. No. 08384-003
       Pedro Figueroa                               Reg. No. 56594-066
       Calvin C. Gillings                           Reg. No. 09245-424
       Glenn D. Gold,                               Reg. No. 01122-033
         aka Glendale Gold
       Alberto Gonzalez                             Reg. No. 56316-066
       Doyle Grimes, Jr.                            Reg. No. 62834-004
       Kenneth Hamlin, Jr.                          Reg. No. 06230-068
       Lisa Harris                                  Reg. No. 33883-018
       Antorrian Adrionne Hawkins                   Reg. No. 31812-039
       Eugene L. Haywood                            Reg. No. 12118-026
       Jerome A. Jackson                            Reg. No. 17292-016
       Gloria Louise James                          Reg. No. 11871-030




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Angie Jenkins                        Reg. No. 61529-065
Allen Johnson                        Reg. No. 30204-018
Javon Tyrone Johnson                 Reg. No. 26224-039
Mario Alonzo Johnson                 Reg. No. 10841-097
Tommy Lynn Johnson                   Reg. No. 09678-078
Sharanda Purlette Jones              Reg. No. 33177-077
Ryan O'Neil Lansdowne                Reg. No. 44299-083
Chad Robert Latham                   Reg. No. 34699-086
Jimmy Ewell Lee                      Reg. No. 05947-017
Carlos Lopez                         Reg. No. 03010-049
Terry Dennard McNeair                Reg. No. 18394-057
Michael McRae,                       Reg. No. 19837-058
  aka Clyde McRae, III
Juan Fernando Mendoza-               Reg. No. 54982-019
  Cardenas
Billy R. Mercer, Jr.                 Reg. No. 11806-002
Alphonso Rayon Morrison              Reg. No. 15139-058
Matthew Murphy, III                  Reg. No, 10263-112
Eric L Orington                      Reg. No. 10399-026
Lynette Owens                        Reg. No. 34239-018
David Padilla.                       Reg. No. 36515-066
Lalanda Price                        Reg. No. 11827-017
Lamar Roberson                       Reg. No. 07595-085
Kenneth Cordell Robinson             Reg. No. 87578-079
Felix Roman, Jr.                     Reg. No. 55318-066
Angel Sanchez                        Reg. No. 59227-066
Timothy Bernard Sanchious            Reg. No. 38782-083
Michael Santoyo                      Reg. No. 40609-053
Wilbert L. Shoemaker                 Reg. No. 11789-035
Marcus Stovall                       Reg, No. 40080-074
Daron Benjamin Swygert               Reg. No. 96746-071
Billie Marie Taylor                  Reg. No. 03453-078
Raymond Allen Thomas                 Reg. No. 14735-006
Bruce Lamar Thompson                 Reg. No. 54404-019
Keith Demand Thompson                Reg. No. 39479-039
Otis Lee Thompson, Jr.               Reg. No. 38973-179
Charles Lee Torian                   Reg. No. 09274-084
Maurice Junior Turpin                Reg. No. 10608-084
Tommie Sand Tyree                    Reg. No. 25774-001
Alfonzo Samuel Wallace               Reg. No. 40362-004
John Thomas Watters                  Reg. No. 09753-062
Monica Ann White                     Reg. No. 12302-030
Shelton L. Williams                  Reg. No. 46230-079




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       I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to expire on December 18, 2016, leaving intact and in effect for
each named person all other components of each respective sentence. I also direct the Bureau of
Prisons to place each of the following persons on one year of pre-release custody:

       Jose Aviles                                    Reg. No. 16136-018
       Sherman Dionne Chester                         Reg. No. 16015-018
       Eddie Lee Cooks                                Reg. No. 08212-035
       Dewayne Crompton,                              Reg. No. 03502-090
         aka James L. Moore
       Charles Frederick Cundiff                      Reg. No. 09400-017
       Thomas Daniels                                 Reg. No. 49116-066
       Eric T. Downs                                  Reg. No. 35915-060
       Jimmy Lee Fields                               Reg. No. 17580-018
       Donald Lee Gill                                Reg. No. 05505-032
       Kevin McDonald                                 Reg. No. 56258-019
       Alton D. Mills                                 Reg. No. 05452-424
       Amador Rodriguez,                              Reg. No. 01164-069
         aka Amador Rodriguez-Ramos



        I hereby further commute the total sentence of imprisonment imposed upon Royal
Deandre Allen, Reg. No. 70241-079, to expire on April 16, 2016. I also remit the unpaid
balance of the $17,500 fine imposed upon the said Royal Deandre Allen. I leave intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Edward B.
Betts, Reg. No. 02124-025, to expire on April 16, 2016. I also commute the eight-year term of
supervised release imposed upon the said Edward B. Betts to a term of two years of supervised
release. I leave intact and in effect all conditions of the supervised release term and all other
components of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Willie James
Griffin, Jr., Reg. No. 04667-017, to expire on April 16, 2016. I also remit the unpaid balance of
the $1,000 fine imposed upon the said Willie James Griffin, Jr. I leave intact and in effect the
10-year term of supervised release with all its conditions and all other components of the
sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Glenn A.
Harris, Reg. No. 24053-056, to expire on April 16, 2016. I also remit the unpaid balance of the
$2,100 restitution obligation imposed upon the said Glenn A. Harris. I leave intact and in effect
the five-year term of supervised release with all its conditions and all other components of the
sentence.

        I hereby further commute the total sentence of imprisonment imposed upon Darnell
Jamar Nash, Reg. No. 04028-063, to expire on April 16, 2016. I also commute the 10-year
term of supervised release imposed upon the said Darnell Jamar Nash to a term of three years
of supervised release. I leave intact and in effect all conditions of the supervised release term and
all other components of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon LaShawn D.
Patton, Reg. No. 06919-025, to expire on April 16, 2016. I also commute the eight-year term of
supervised release imposed upon the said LaShawn D. Patton to a term of four years of
supervised release. I leave intact and in effect all conditions of the supervised release term and
all other components of the sentence.


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        I hereby further commute the total sentence of imprisonment imposed upon Donald
Lamont Postell, Reg. No. 07075-058, to expire on April 16, 2016. I also remit the unpaid
balance of the $20,000 fine imposed upon the said Donald Lamont Postell. I leave intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sent53399ence.

        I hereby further commute the total sentence of imprisonment imposed upon Eric
Desmond Thomas, Reg. No. 70222-079, to expire on April 16, 2016. I also remit the unpaid
balance of the $20,000 fine imposed upon the said Eric Desmond Thomas. I leave intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence.

        I HEREBY DESIGNATE, direct, and empower the Pardon Attorney, as my
representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as
evidence of my action in order to carry into effect the terms of these grants of clemency, and to
deliver a certified copy of the signed warrant to each of the persons to whom I have granted
clemency as evidence of my action.

       IN TESTIMONY WHEREOF I have hereunto signed my name and caused the seal of
the Department of Justice to be affixed.


                                                     Done at the City of Washington this 18th
                                                     day of December in the year of our Lord
                                                     Two thousand and fifteen and of the
                                                     Independence of the United States the
                                                     two hundred and fortieth.




                                                        BARACK OBAMA
                                                           President




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